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4                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF WASHINGTON
5                                      AT TACOMA

6    HERITAGE IP LLC,
                                                             Case No. C21-1333 RSM-TLF
7                             Plaintiff,
            v.                                               REPORT AND
8                                                            RECOMMENDATION
     NINTENDO OF AMERICA INC,
9                                                            NOTING DATE: MARCH 11, 2022
                              Defendants.
10

11          This matter comes before the Court Defendant Nintendo of America, Inc.’s

12   motion to dismiss under Rule 12(b)(6). Dkt. 23. Plaintiff brings this action alleging that

13   defendant has infringed on plaintiff’s patent, United States Patent No. 6,854,067

14   (“Patent”) (Dkt. 1-1). Dkt. 1, Complaint, at 1. Plaintiff seeks monetary damages for

15   defendant’s alleged infringement of the Patent. Dkt. 1, at 2. Plaintiff alleges two theories

16   of infringement – either the defendant infringed the Patent literally, or under the doctrine

17   of equivalents, or under both theories. Dkt. 1, at 7.

18          Defendant seeks dismissal under Federal Rule of Civil Procedure 12(b)(6),

19   arguing that the Patent is patent-ineligible under 35 U.S.C. § 101. Dkt. 23, at 7. Further,

20   defendant argues that the Court should dismiss plaintiff’s indirect infringement and

21   willful infringement claims because plaintiff has not alleged sufficient facts to support

22   defendant’s pre-litigation knowledge of the Patent. Dkt. 23, at 8-9.

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     REPORT AND RECOMMENDATION - 1
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1             Plaintiff has not responded to the motion to dismiss. Rather, plaintiff filed an

2    Amended Complaint. Dkt. 25. Plaintiff timely and properly filed its amended complaint

3    as a matter of course within 21 days of Defendant’s 12(b)(6) motion. See Fed. R. Civ. P.

4    15(a)(1)(B). Defendant filed a second motion to dismiss on February 17, 2022. Dkt. 28.

5    Defendant has not withdrawn its first motion to dismiss.

6             An “amended complaint supersedes the original, the latter being treated

7    thereafter as non-existent.” Forsyth v. Humana, Inc., 114 F.3d 1467, 1474 (9th Cir.

8    1997) (internal citation omitted), overruled on other grounds by Lacey v. Maricopa Cnty.,

9    693 F.3d 896, 927–28 (9th Cir. 2012). Where a motion to dismiss targets a complaint

10   that has been superseded by an amended complaint, the court should deem the motion

11   to dismiss moot. Ramirez v. Cnty. of San Bernardino, 806 F.3d 1002, 1008 (9th Cir.

12   2015).

13            Defendant’s motion to dismiss (Dkt. 23) was mooted by plaintiff’s amended

14   complaint (Dkt. 25), and it should therefore be DENIED without prejudice.

15            The parties have fourteen (14) days from service of this Report and

16   Recommendation to file written objections thereto. 28 U.S.C. § 636(b)(1); Federal Rule

17   of Civil Procedure (FRCP) 72(b); see also FRCP 6. If objections are filed, the parties

18   shall have fourteen (14) days from the service of the objections to file a response.

19   FRCP 72(b)(2). Failure to file objections will result in a waiver of those objections for

20   purposes of appeal. Thomas v. Arn, 474 U.S. 140 (1985).

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1          Accommodating the above time limit, the Clerk shall set this matter for

2    consideration on March 11, 2022, as noted in the caption.

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4          Dated this 25th day of February, 2022.

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7                                                   A
                                                    Theresa L. Fricke
8                                                   United States Magistrate Judge

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